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                                UNITED STATES DISTRICT COURT
 9                                    DISTRICT OF NEVADA
       KATHRYN MAYORGA,                           CASE NO.: 2:19-cv-00168-JAD-DJA
10
11                           Plaintiff,

12    v.                                                   DEFENDANT’S EMERGENCY
                                                         MOTION FOR CASE TERMINATING
13    CRISTIANO RONALDO,                                 SANCTIONS AND TO DISQUALIFY
                                                            STOVALL & ASSOCIATES
14                           Defendant.
15
16          Defendant Cristiano Ronaldo, through his attorneys, Christiansen Trial Lawyers, hereby

17   moves for case terminating sanctions and to disqualify Plaintiff’s Counsel, Stovall & Associates

18   (“Stovall”). As counsel for Plaintiff, Stovall intentionally sought stolen documents from an

19   alleged cyber hacker and not only used those documents as exhibits to public filings in this case,

20   but also as support for his request that the Las Vegas Metropolitan Police Department reopen a

21   decade old investigation to prosecute the Defendant. A substantial number of these ill-gotten

22   documents are labeled privileged attorney-client communications and work product. Now, in

23   defiance of this Court’s prior order striking certain of those documents from the record in this

24   case, Stovall continues to assert he intends to use information contained in the wrongfully

25   obtained communications in order to prosecute Plaintiff’s claims. Defendant also recently learned

26   Plaintiff obtained hundreds of additional confidential and privileged documents from Football

27   Leaks, which she submitted to LVMPD but has never disclosed in this litigation. Because of such

28   egregious misconduct, no sanction less than dismissal will suffice.
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 1          Defendant respectfully requests this Motion be heard on an emergency basis because
 2   additional depositions in this matter are scheduled to begin on June 23, 2021.1 Based on
 3   communications between counsel, Defendant reasonably anticipates Plaintiff will attempt to
 4   question witnesses regarding information learned during the review of privileged
 5   communications as well as regarding stolen documents Plaintiff obtained pre-litigation from third
 6   party sources but never disclosed to Defendant in this case. If these depositions are to proceed
 7   absent a ruling on the instant motion, Defendant will suffer further undue prejudice. Because the
 8   initial expert disclosure is set for July 2, 2021, the depositions scheduled for June 23, 24, 25 and
 9   28 cannot reasonably be continued in order to allow this Court to rule in the ordinary course. Id.
10   Accordingly, good cause exists to resolve these issues on an emergency, expedited basis. Id.
11                      MEMORANDUM OF POINTS AND AUTHORITIES
12   I.     RELEVANT FACTS AND PROCEDURAL HISTORY
13          This case arises from an encounter alleged to have occurred in 2009. Plaintiff Kathryn
14   Mayorga (“Plaintiff”) alleges Defendant Cristiano Ronaldo (“Defendant”) sexually assaulted her
15   at the Palms Casino on June 13, 2009. Compl., ECF No. 1 at pp. 2-3. Within months of the alleged
16   assault, Plaintiff retained counsel and sought civil redress for her claims. See Decl. of Kendelee
17   L. Works, Esq., ECF No. 12. Defendant, through counsel, vehemently denied Plaintiff’s version
18   of events but agreed to privately mediate the dispute pre-litigation. Id. The mediation took place
19   in Las Vegas in January 2010, and the parties reached an agreement as to confidentiality and a
20   monetary settlement amount. Id. Over the course of the following eight months, the parties further
21   negotiated the final terms of the written agreement, and ultimately memorialized the resolution
22   in that certain Settlement & Confidentiality Agreement (“SCA”). Id. The SCA was fully executed
23   by both parties and their Counsel in August 2010.2 ECF 30, Exhibit A at p. 16. Defendant paid
24
25   1
       See Decl. of Kendelee L. Works, Esq. in Support of Defendant’s Emergency Motion for Case
26   Terminating Sanctions and to Disqualify Stovall & Associates, attached hereto as Exhibit C.
     2
27    A copy of the SCA was previously filed under seal as Exhibit A to Defendant’s Motion to
     Dismiss (ECF No. 30).
28


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 1   the negotiated settlement amount and the matter resolved. Nearly a decade later, Plaintiff retained
 2   Stovall and initiated the instant lawsuit.
 3       A. STOVALL UNLAWFULLY OBTAINED                          STOLEN,       PRIVILEGED         AND
            INADMISSIBLE DOCUMENTS.
 4
            Stovall brazenly admits he requested and obtained documents from an accused cyber
 5
     hacker, which he has repeatedly attempted to use to support Plaintiff’s allegations in this case.3
 6
     Stovall, acting on behalf of Plaintiff, obtained the stolen documents in July 2018, and apparently
 7
     used them to craft a verified complaint against Defendant, which he first filed in state court on
 8
     September 27, 2018. See Verified State Court Complaint, attached hereto as Exhibit A. Plaintiff’s
 9
     verification affirms under oath she has the read the contents of the State Court Complaint, knows
10
     the contents thereof, and the allegations therein are true of her own knowledge or to the best of
11
     her information and belief. Id. Plaintiff subsequently dismissed that action and filed a new
12
     Complaint in this action on January 28. 2019.
13
            While both complaints reference that, “plaintiff obtained from Football Leaks copies of
14
     documents and communications between defendant Cristiano Ronaldo and his ‘team,’” Plaintiff
15
     did not disclose that her lawyer had specifically requested and received documents labeled
16
     privileged attorney client communications and work product. Exhibit A at p. 14; ECF No. 1 at
17
     pp. 13-14. To the contrary, on October 23, 2018, Stovall sent correspondence to Defendant’s
18
     counsel requesting that Defendant “identify and provide copies of the specific ‘Football Leaks,’
19
     documents that you, your client or anyone acting on his behalf have identified as having been
20
     altered, modified or fabricated…”. See Oct. 23, 2013 [sic] correspondence attached hereto as
21
     Exhibit B; see also Decl. of Kendelee L. Works, Esq., attached hereto as Exhibit C (affirming
22
     Exhibit B was received in October 2018, not 2013).
23
            Tellingly, both complaints consistently refer to communications between Defendant and
24
     his “team of ‘fixers,’ known as ‘personal reputation protection specialists,’” – careful to never
25
26
     3
27    Plaintiff has represented, through counsel, that “Documents 0003-0121 and 0121 and 0175-
     0275 [sic] are documents that Plaintiff’s Counsel received from “Football Leaks” pertaining to
28   Defendant [Mr. Ronaldo].” ECF 45.


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 1   reveal what Plaintiff had really obtained readily appear to be communications between a “team”
 2   of “lawyers” and their client. Id. at Exhibit A at 5; ECF No. 1 at 5. Indeed, Plaintiff’s verified
 3   State Court Complaint named “DOE” and “ROE” defendants, again choosing to not identify any
 4   of Defendant’s “lawyers” as part of the “team,” instead specifying the DOE and ROE defendants
 5   “were agents, servants, employees, partners or joint ventures of every other defendant named
 6   herein.” Exhibit A at pp. 1-2. Defendant Ronaldo was the only other named Defendant.
 7   Consistent with federal practice, there are no DOE and ROE defendants named in the instant
 8   action. ECF No. 1.
 9           It was not until nearly a year later, on September 23, 2019, that Plaintiff finally disclosed
10   to Defendant, the hundreds of documents0 Stovall obtained—documents that had been cyber
11   hacked from Defendant’s prior lawyers, and the majority of which are labeled privileged attorney-
12   client communications and work product.4 ECF No. 44 (Plaintiff’s Opposition to Defendant’s
13   Motion to Compel Arbitration at Exhibits 4 and 5 (Documents identified as Bates Nos. 003-257);
14   see also Plaintiff’s Initial Disclosures at Exhibits 8 and 9, relevant portions attached hereto under
15   seal as Exhibit D and which are the subject of a contemporaneous motion for leave to file under
16   seal. The first page of Plaintiff’s Exhibit 4 to the Opposition to Defendant’s Motion to Compel
17   is an email from Plaintiff’s Counsel to “Football Leaks,” which is dated July 25, 2018. ECF No.
18   44 at Exhibit 4, Bates 0001-2; see also Exhibit D at KM00129-130. Within the email, Plaintiff’s
19   Counsel informs the recipient he represents “Katie Mayorga” and has been retained to file a
20   lawsuit against Defendant Cristiano Ronaldo for injuries suffered as a result of an alleged sexual
21   assault. Id. Stovall, as counsel for Plaintiff, specifically requested, in relevant part, that “Football
22   Leaks” provide him with:
23           any communications, emails, text messages, social media postings, documents or
             other information… including but not limited to:
24           1. the sexual assault.
25           2. the employment of attorneys and investigators by Ronaldo to investigate
                my client, her family, witnesses and friends after the sexual assault
26
27
     4
      Defendant continues to object to the authenticity of the Football Leaks documents at issue here
28   and further, does not concede that such hacked materials have not been altered or modified.


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            3. the employment of attorneys and investigators to represent and defend
 1
                Ronaldo after the sexual assault of my client
 2          4. the reporting and communications of the attorneys and investigators that
                investigated Katie Mayorga, her family, witnesses, friends and the attorney
 3              Katie hired to represent her.
            5. the reporting and communications of the attorneys and investigators
 4
                representing and defending Ronaldo following the sexual assault thru the
 5              negotiations and conclusion of the settlement and non disclosure agreement.
            3. [sic] the negotiations leading up to the agreement to mediate
 6          4. [sic] the mediation itself
 7          ….
            6. The evaluation or assessment of the attorney representing Katie Mayorga,
 8              before, during and after the mediation.
            7. the terms of the settlement and non-disclosure agreement
 9          …
10   Id. (emphases added). In response to Stovall’s email request for attorney-client communications
11   and attorney work product, the individual identified as “Football Leaks” sent an attachment of
12   documents, stating, “[i]n the Attachment you can find all relevant information in my possession.
13   I hope that helps.” ECF No. 44 at Exhibit 4, Bates 0001; and Exhibit D at KM00129.
14          Upon receipt of Plaintiff’s Opposition to Defendant’s Motion to Compel Arbitration,
15   which for the first time revealed Stovall had intentionally sought and obtained privileged attorney-
16   client communications and work product, Defense counsel promptly alerted Stovall to the issue.
17   See September 24, 2019, email from Peter S. Christiansen, Esq., to Stovall, attached hereto as
18   Exhibit E. The parties then stipulated to have the court seal Exhibits 4 and 5 pending motion
19   practice and a ruling from the Court as to whether the documents should be both sealed and
20   stricken from the record. ECF No. 45. On February 4, 2020, the Magistrate issued his Report and
21   Recommendation, in relevant part finding Defendant had not waived the attorney-client or work
22   product privileges, nor put the documents at issue in this litigation. On September 30, 2020, over
23   Plaintiff’s Objection, this Court affirmed the Magistrate’s recommendation on the issue and
24   ordered the Football Leaks documents be stricken from record and sealed. ECF No. 72 at 24;
25   ECF No. 67 at 8-9.
26      B. PLAINTIFF FILED A NOTICE OF APPEAL FROM THE COURT’S ORDER
           STRIKING THE PRIVILEGED AND STOLEN DOCUMENTS.
27
28


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 1          On October 29, 2020, Plaintiff a filed a Notice of Appeal from this Court’s Order
 2   Sustaining in Part Objection and Adopting and Modifying in Part Report & Recommendation,
 3   which sought to challenge the court’s ruling as to “Ronaldo’s motion to strike documents.” ECF
 4   No. 73. On November 23, 2020, Defendant’s counsel informed Stovall that Defendant intended
 5   to move to dismiss the appeal for a lack of jurisdiction because pursuant to 9 U.S.C. § 16, the
 6   subject order was neither final nor appealable. See Nov. 23, 2020 email correspondence and
 7   response attached hereto as Exhibit F. Stovall confirmed by email that Plaintiff disagreed and
 8   would oppose the motion to dismiss. Id.
 9          On November 28, 2020, Defendant timely moved to dismiss the appeal. On December 30,
10   2020, after obtaining two extensions of the deadline to oppose dismissal, Plaintiff opted to
11   voluntarily dismiss the appeal without ever filing an opposition. See Dec. 30, 2020, Stipulation
12   and Order to Dismiss Appeal Without Prejudice, attached hereto as Exhibit G; see also Jan. 13,
13   2021 Amended Stipulation and Order to Dismiss Appeal with Prejudice, attached hereto as
14   Exhibit H. On January 15, 2021, the Court of Appeals for the Ninth Circuit granted Plaintiff’s
15   request to dismiss.
16          On November 24, 2020, the parties filed their Proposed Discovery Plan and Scheduling
17   Order, with special scheduling review requested. ECF No. 79. On December 2, 2020, this Court
18   entered its order granting in part and denying in part the parties’ Proposed Discovery Plan and
19   Scheduling Order. ECF No. 80. On December 22, 2020, the Court granted the first stipulation to
20   extend the time for Plaintiff to object to the discovery order. ECF No. 83. On January 5, 2021,
21   the Court granted Plaintiff another extension of time to object to the discovery order, making such
22   objection due on or before January 8, 2021. ECF NO. 86. Plaintiff never filed any objection.
23   Thereafter, on February 2, 2021, Plaintiff first sent Defense counsel authorizations to obtain
24   medical, employment and educational records. See Feb. 2, 2021 letter from Moynihan to Works,
25   attached hereto as Exhibit I.
26      C. STOVALL CONTINUES TO BELIEVE HE IS ENTITLED TO USE PRIVILEGED
           ATTORNEY-CLIENT COMMUNICATIONS AND WORK PRODUCT TO
27         PROSECUTE PLAINTIFF’S CLAIMS.
28


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 1               On February 9 and 12, 2021, Plaintiff’s counsel emailed Defense counsel requesting
 2   deposition availability for Defendant, his prior lawyers and/or agents and counsel’s availability
 3   for the deposition of mediator Joseph Bongiovi. See Emails, attached collectively hereto as
 4   Exhibit J. On February 18, 2021, Defense counsel sent a letter to Plaintiff’s counsel confirming
 5   Defendant would object to the taking of his deposition or any of his lawyers or agents at this stage
 6   in the proceedings as both irrelevant, pursuant to ECF No. 80, and an improper invasion of the
 7   attorney-client privilege. See February 18, 2021 letter, attached hereto as Exhibit K. Defendant
 8   also enclosed an authorization for Plaintiff’s signature to allow release of her prior attorney’s full
 9   file. Id.
10               Having received no response, on March 19, 2021, Defense counsel sent two emails to
11   Plaintiff’s attorneys – one seeking a status on the authorization for release of the prior attorney’s
12   file and a meet and confer if such authorization was not forthcoming; and a second email attaching
13   a draft confidentiality and protective order and also requesting the parties agree to extend all
14   upcoming discovery deadlines for 90 days. See Emails, attached hereto collectively as Exhibit L.
15   Again having received no response, Defense counsel reached out via email on March 29, 2021
16   asking for a status on the authorization for Plaintiff’s prior lawyer’s file, the draft confidentiality
17   order, and whether Plaintiff would agree to extend discovery. See Email, attached hereto as
18   Exhibit M.
19               Plaintiff’s counsel and Defense counsel spoke briefly on March 29, 2021, at which time
20   Plaintiff’s lawyer declined to confirm whether he would agree to extend discovery or to enter into
21   the confidentiality order, instead insisting that the parties formally meet and confer on March 30,
22   2021. See March 29, 2021 confirming email from Stovall to Works and Works’ responsive email,
23   attached collectively hereto as Exhibit N. The parties conferred on March 30, 2021 and despite
24   having no articulable basis for refusing to extend the upcoming discovery deadlines or to agree
25   to the confidentiality and protective order, Plaintiff’s counsel declined to do so. Stovall likewise
26   continued to insist the depositions of Defendant and his prior lawyers and agent(s) are somehow
27   relevant to Plaintiff’s mental capacity at the time of the mediation and signing of the SCA, so the
28   parties remained at odds regarding the appropriate scope of discovery. See Exhibit N (Stovall’s


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 1   March 29, 2021 email correspondence stating, “…the plaintiff has consistently taken the position
 2   that facts and specifically, the conduct of the plaintiff, observed by the attorneys, investigator and
 3   mediator (and his staff) are not privileged, are discoverable and relevant to the issue of capacity
 4   and the defendant’s knowledge thereof.”) (emphasis added); see also Decl. of Kendelee L. Works,
 5   Esq. at ECF No. 90 at 2-3.
 6          During the meet and confer on March 30, 2021, Stovall further reiterated his insistence
 7   that the stolen Football Leaks documents remained relevant to Plaintiff’s capacity to contract and
 8   he believed he would be entitled to question witnesses regarding such communications. Id. In
 9   particular, Stovall maintained that he should be permitted to question Defendant’s lawyers and/or
10   agents regarding their knowledge of Plaintiff’s mental state at or around the time of the January
11   12, 2010 mediation, which he asserted was substantiated by the documents labeled attorney-client
12   communications and work product contained within the stolen Football Leaks documents. Id. On
13   April 28, 2021, Magistrate Judge Albregts entered an order granting Defendant’s Motion to
14   Extend Time for discovery. ECF No. 99. Particularly relevant here, the court again reiterated
15   concern that Plaintiff is “laser focused on expanding the scope of this case.” Id. at 2:26-27.
16          With discovery having been extended, both parties stipulated along with Joseph Bongiovi
17   (the mediator at the time of the subject mediation) and Kathy Bongiovi (Mr. Bongiovi’s office
18   manager and wife), to have their depositions take place on May 11 and 12, 2021. ECF No. 102.
19   All parties also agreed to waive the mediator’s statutory confidentiality privilege but that the
20   Bongiovi’s and their counsel would agree to be bound by any protective or confidentiality order
21   in place in this case. Id. Additionally, the Bongiovi’s and counsel for both parties agreed to
22   provide any documents to be used at the time of the depositions at least one week in advance. Id.
23   On May 3, 2021, the day before the parties were scheduled to exchange documents for the
24   depositions, Stovall emailed all parties indicating he needed additional time to prepare and would
25   like to move them out about a month. See May 3, 2021 email, attached hereto as Exhibit O.
26   Stovall noted he was still reviewing additional documents he “just received” from the Defense.
27   Notably, Plaintiff had “just received” additional documents due to his own intransigence in
28   refusing to sign a stipulated protective order and forcing Defendant to seek such relief from the


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 1   from the record and sealed by this Court. Id. Stovall asserted that despite the Court’s order
 2   granting the entirety of Defendant’s Motion to Strike, Plaintiff did not view the Court’s order as
 3   having stricken all of the Football Leaks documents. Id. At no time during the meet and confer
 4   did Stovall disclose that he had obtained additional documents from Football Leaks, which
 5   Plaintiff apparently provided to LVMPD, but which Stovall has never provided to Defendant. Id.
 6          On May 23, 2021, Defense counsel emailed Stovall and requested confirmation that the
 7   entirety of the Football Leaks documents contained within LVMPD’s file, bates numbered by
 8   Defendant as CR000926 through CR001510, were submitted by Stovall and/or Plaintiff or
 9   someone acting on her behalf as opposed to another source. See May 23, 2021 email attached
10   hereto as Exhibit T. Stovall did not directly respond to that email or particular question but did
11   send a letter on May 25, 2021 regarding, “several issues discussed during the May 17, 2021 ‘meet
12   and confer.’” See Correspondence from Stovall to Works, attached hereto as Exhibit U. Within
13   that letter, Stovall addressed in relevant part, the “Use of Privileged Documents During
14   Discovery,” and the “Use of Stolen Football Leaks Documents During Discovery.” Id. Although
15   Stovall stated he agrees the “attorney client privilege applies to the communications between the
16   defendant and his attorneys and communications between the defendant’s attorneys, he reiterated
17   his belief the “attorney-client privilege does not extend to communications or documents
18   exchanged between the defendant or defendant’s attorneys and the mediator, the defendant or
19   defendant’s attorney and the plaintiff’s attorney, or the plaintiff’s attorney and the mediator.”
20          Curiously, none of the Football Leaks documents that Plaintiff actually disclosed to
21   Defendant in this litigation, contain non-privileged communications between Plaintiff’s prior
22   lawyer and Defendant’s prior lawyers, or any of the lawyers and the mediator. See Exhibit D.
23   Tellingly, those communications are however, contained within the Football Leaks documents
24   contained in LVMPD’s file but never disclosed by Plaintiff in this case. See id.; see also Exhibit
25   P. Stovall went on to dispute whether the Football Leaks documents were “stolen,” indicating in
26   pertinent part, “It is not known how or when the documents identified in this case as ‘Football
27   Leak’ [sic] documents were originally obtained… What is known about these documents…is that
28   they were obtained by an internet query by plaintiff’s counsel.” Id. Stovall concluded by asserting,


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 1   “…whether the documents identified in this were stolen or not, ignores the issues material to this
 2   case.” Id.
 3           In short, Stovall has agreed to not use as exhibits, certain attorney-client privileged
 4   communications he specifically sought from a third party identified as “Football Leaks” prior to
 5   this litigation, but he has not indicated he will forego using any knowledge gained from his
 6   extensive review of those documents. To the contrary, Stovall reiterates his opinion that the
 7   [SCA] was illegally obtained, which is “merely a restatement of the allegations in the complaint,”
 8   – allegations Stovall ignores are derived from Plaintiff’s review of the stolen, protected and
 9   privileged Football Leaks documents. Moreover, Plaintiff affirmatively intends to conduct
10   discovery regarding what Stovall refers to as the “non-privileged communications” contained
11   within the Football Leaks documents – documents he intentionally sought from an outside third
12   party with zero regard for when and how the accused cyber hacker obtained protected and
13   confidential materials; and which Plaintiff has never disclosed in this case.
14   II.     LEGAL ARGUMENT
15           Stovall, on behalf of Plaintiff, has acted intentionally and with a complete disregard for
16   the integrity of the judicial process and the sanctity of the attorney-client privilege and work
17   product doctrine. Not only did Stovall seek out privileged documents, he has failed to disclose to
18   Defendant or this Court that Plaintiff possesses hundreds of additional pages of hacked and
19   privileged documents. Plaintiff and Stovall’s knowledge of the ill-gotten Football Leaks
20   documents has permeated this litigation, tainted the truth finding process and resulted in prejudice
21   to Defendant that cannot be remedied by any sanction less than dismissal. In short, Stovall’s
22   knowledge of the content of the privileged and protected documents cannot be undone and, even
23   more troubling, he will not abandon his quest to utilize the information gleaned from the purloined
24   material to prosecute Plaintiff’s claims in this litigation. Because the resulting prejudice is
25   incurable, Plaintiff’s Complaint should be dismissed in its entirety. At a minimum, Stovall must
26   be disqualified.
27
28


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        A. UPHOLDING THE INTEGRITY OF THE JUDICIAL PROCESS REQUIRES
 1
           DISMISSAL.
 2          “It is well settled that dismissal is warranted where…a party has engaged deliberately in
 3   deceptive practices that undermine the integrity of judicial proceedings…” Jackson v. Microsoft
 4   Corp., 211 F.R.D. 423, 433 (W.D. Wash. 2002) (aff’d by Jackson v. Microsoft Corp., 78
 5   Fed.Appx. 588 (9th Cir. 2003) (unpublished)). Federal district courts have the inherent power to
 6   dismiss an action as a sanction for bad faith conduct. U.S. ex rel. Lujan v. Hughes Aircraft Co.,
 7   67 F.3d 242, 247 (9th Cir.1995) (citing Halaco Engineering Co. v. Castle, 843 F.2d 376, 380
 8   (9th. Cir. 1988)). Although our system of jurisprudence strongly favors determination of cases
 9   on the merits, “federal courts may dismiss a party’s case for misconduct that abuses the judicial
10   process.” Xyngular Corp. v. Schenkel, 200 F.Supp.3d 1273, 1300-01 (D. Utah 2016)(citing Lee
11   v. Max Int’l. LLC, 638 F.3d 1318, 1320 (10th Cir. 2011)(internal citations omitted)).
12          In assessing whether dismissal is an appropriate remedy, this Court must consider: 1) the
13   existence of extraordinary circumstances; 2) the presence of willfulness, bad faith or fault by the
14   offending party; 3) the efficacy of lesser sanctions; 4) the relationship or nexus between the
15   misconduct drawing the dismissal sanction and the matters in controversy in the case; and as
16   optional considerations, where appropriate, 5) the prejudice to the party victim; and 6) the
17   government interest at stake. Id. In order for dismissal to be a proper exercise of inherent power,
18   a court must explicitly consider less drastic sanctions and provide a reasonable explanation of
19   possible and meaningful alternatives. Id. at 247-48.
20          In Jackson, which the Ninth Circuit upheld on appeal in an unpublished opinion, the
21   district court used its inherent power of dismissal where the plaintiff, a former Microsoft
22   employee, had obtained CD’s containing thousands of emails from an unknown source. 211
23   F.R.D. at 431. Within the emails were proprietary secrets, confidential attorney work-product and
24   confidential information regarding the evaluation and compensation of other Microsoft
25   employees. Id. Plaintiff retained one of the CD’s for ten months before finally turning it over to
26   the defendant and failed to turn over a second CD until the second day of his deposition, after
27   having already transferred the information to his computer hard drive and accessed substantial
28


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 1   amounts of the stolen data. Id. The plaintiff employee also obtained hard copies of certain
 2   personnel data, but he claimed to not recall how he came into possession of such information. Id.
 3           In dismissing the plaintiff’s claims, the court noted that a theft on this scale would alone
 4   be sufficient to warrant dismissal. Id. However, the plaintiff’s secretive behavior and “clear
 5   reliance on the stolen documents in the preparation of his case only makes dismissal more
 6   appropriate.” Id. In assessing the prejudice to defendant, the court reasoned that even if all
 7   “purloined” documents had been returned, the damage to defendant had already been done. Id. at
 8   432. The plaintiff had spent considerable time and attention reading and referring to the items at
 9   issue. Particularly pertinent here, plaintiff possessed for ten months internal company
10   communications regarding the manner in which Microsoft would respond to the plaintiff’s
11   allegations of mistreatment. Id. Ultimately, the court, could “conceive of no sanctions which
12   would cure plaintiff’s extensive access to defendant’s privileged and confidential materials and
13   would assure plaintiff’s honesty in the proceedings to come.” Id.
14           Courts in other districts have likewise imposed the sanction of dismissal where one party
15   has obtained stolen documents from another source and used confidential or privileged
16   communications to further its own case. See Schenkel, 200 F.Supp.3d at 1311-12. In Schenkel, a
17   shareholder obtained documents from an IT director who had access to corporate documents in
18   his company as well as other companies for which the IT director performed work. Id. The
19   shareholder improperly obtained, reviewed and relied upon documents that belonged to other
20   companies, which he was not involved with and had no right to access. Id. at 1312. Although the
21   IT director had the necessary password and authorizations to access the various servers, there was
22   no evidence he had authority to remove the documents, possess them or give them to third parties.
23   Id. Nonetheless, the IT director did just that and provided them to the shareholder at his request.
24   Id. at 1312-13. The shareholder collected documents from the IT director for over a year before
25   filing a derivative suit against the company’s directors. Id.
26           In finding dismissal to be the appropriate sanction, the court relied on the shareholder’s,
27   “prelitigation request, review, and collection of documents in anticipation of litigation, and his
28   later introduction of those materials in [the] litigation to support his claims.” Id. at 1313. Directly


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 1   Leaks documents to prove Plaintiff’s claims. More problematic is that Plaintiff still has not
 2   disclosed to Defendant approximately four hundred pages of stolen documents that Stovall
 3   obtained from Football Leaks and submitted to LVMPD.
 4          Finally, Stovall and Plaintiff have both had extensive access to stolen, confidential
 5   material labeled privileged attorney-client communications and work-product. The information
 6   contained in such purloined documents forms the gravamen of Plaintiff’s complaints (one of
 7   which Plaintiff herself signed and verified), various briefs before this Court, and, even now, the
 8   continued mission to question witnesses regarding such confidential materials. See Decl. of
 9   Janeen Issacson, Esq., attached hereto as Exhibit V. Merely foreclosing the use of the Football
10   Leaks documents themselves would likewise be insufficient to ensure honesty and secure the
11   integrity of these proceedings because the protected and confidential information cannot now
12   somehow be unlearned. Given that both Plaintiff and Stovall have had access to such documents,
13   disqualification alone is an insufficient remedy. Just as in Jackson and Schenkel, only dismissal
14   can remedy the harm done by Stovall’s intentional conduct.
15       B. AT A MINIMUM, STOVALL MUST BE DISQUALIFIED.
16          Federal courts are vested with inherent authority to discipline attorneys before them for
17   conduct deemed inconsistent with applicable ethical standards. Maldonado v. New Jersey ex rel.
18   Admin. Office of Courts – Probate Div., 225 F.R.D. 120, 137 (D. N.J. 2004) (citing In Re Snyder,
19   472 U.S. 634, 645 n. 6 (1985)). Generally, state law governs a district court’s analysis of attorney
20   misconduct. Id.; see LR IA 11-7.5 Pursuant to Local Rule IA 11-7, an attorney practicing in this
21   district is governed by the Model Rules of Professional Conduct as adopted and amended by the
22   Supreme Court of Nevada. In Maldonado, the court applied a six-part balancing test to determine
23   disqualification of counsel was warranted where the client had inadvertently received a privileged
24
25   5
       Much like its federal counterpart, under Nevada law, “district courts are responsible for
     controlling the conduct of attorneys practicing before them, and they have broad discretion in
26
     determining whether disqualification is required in a particular case. Brown v. Eighth Judicial
27   Dist. Ct., 14 P.3d 1266, 1269 (Nev. 2000) (citing Robbins v. Gillock, 862 P.2d 1195, 1197 (Nev.
     1993)).
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 1   letter and provided it to his lawyers, who then reviewed the protected material and failed to
 2   disclose its receipt to opposing counsel. 225 F.R.D. at 138 (citing Richards v. Jain, 168 F.Supp.2d
 3   1195 (W.D. Wash. 2001)).6 The court noted that numerous other jurisdictions have likewise held
 4   that disqualification is warranted where an attorney receives privileged information, reviews the
 5   materials and fails to notify and/or return them to opposing counsel. Id. (citing Optyl Eyewear
 6   Fashion Int’l Corp. v. Style Companies, Ltd., 760 F.2d 1045, 1049 (9th Cir. 1995)(holding the
 7   appearance of impropriety can be a sufficient ground for disqualification.”); Milford Power Ltd.,
 8   P’ship v. New England Power Co., 896 F.Supp. 53, 58 (D. Mass. 1995); Williams v. Transworld
 9   Airlines, Inc., 588 F.Supp. 1037, 1045 (W.D. Mo. 1984)(stating “the potential for unfair discovery
10   of information through private consultation rather than through normal discovery procedures
11   threatens the integrity of the trial process.”)).7
12           Generally, a district court should consider: 1) whether the attorney knew or should have
13   known the material was privileged; 2) the promptness with which the attorney notifies the
14   opposing side that he or she has privileged information; 3) the extent to which the attorney
15   reviews and digests the privileged information; 4) the significance of the privileged information;
16   i.e., the extent to which its disclosure may prejudice movant’s claim or defense, and the extent to
17
18   6
       Nevada law also requires courts to apply a balancing test in deciding whether disqualification is
19   appropriate. To that end, a court should consider: “the individual right to be represented by
     counsel of one’s choice, each party’s right to be free from the risk of even inadvertent disclosure
20   of confidential information, and the public’s interest in scrupulous administration of justice.”
     Brown, 14 P.3d at 1269-70. To prevail on a motion to disqualify, the movant must show (1) at
21   least a reasonable possibility that some specifically identifiable impropriety occurred6 and (2) that
22   the likelihood of public suspicion or obloquy outweighs the social interests that would be served
     by the challenged lawyer’s continued participation in the particular case. See id. The second
23   element is met where there is a “reasonable probability[] that the challenged attorney actually
     received privileged or confidential information.” Id. at 1270. Any doubts are generally resolved
24   “in favor of disqualification.” Id.
25
     7
       The Nevada Supreme Court has similarly held that disqualification may be necessary “to
26   prevent disclosure of confidential information” that could be used to an adverse party’s
     disadvantage. Nevada Yellow Cab Corp. v. Eighth Judicial Dist. Ct., 152 P.3d 737, 743 (Nev.
27
     2007) (applying principle in context of former clients).
28


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 1   which return of the documents will mitigate that prejudice; 5) the extent to which movant may be
 2   at fault for the unauthorized disclosure; and 6) the extent to which the nonmovant will suffer
 3   prejudice from the disqualification of his or her attorney. Richards, 168 F. Supp.2d at 1205.8
 4          1. Stovall intentionally requested attorney-client privileged communications and
               cannot genuinely deny he knew or should have known the material was
 5             privileged.
 6         Nevada Rule of Professional Conduct 4.4(a) provides that a lawyer shall not use methods
 7   of obtaining evidence that violate the legal rights of a third person. Here, Stovall intentionally
 8   sought out a known accused cyber hacker and requested stolen and protected attorney-client
 9   communications and attorney work product. See Exhibit V. His intentional invasions of these
10   privileges undoubtedly violate Defendant’s legal rights to confidential and privileged attorney
11   representation.
12         Stovall has been practicing law for decades. A majority of the documents at issue here were
13   explicitly marked as being privileged attorney client communications and/or work product in
14   bolded and capital letters. A cursory review of these documents readily reveals the mental
15   impressions of Defendant’s lawyers, case strategy and advice on how to proceed. In short, there
16   can be little doubt that any law school graduate would immediately understand the Football Leaks
17   documents contained protected material. Indeed, Mr. Stovall, despite his decades of experience,
18   intentionally requested copies of stolen documents from a cyber hacker outside the normal
19   discovery process. Given such unorthodox methods of evidence-gathering, Stovall can hardly
20   disclaim knowledge the documents he sought were, at a minimum, intended to be confidential
21   and, in all likelihood, privileged or otherwise protected.
22
23   8
       The Nevada Supreme articulated these same six non-exclusive factors to be assessed in
24   determining whether to disqualify an attorney who has received an opponent’s privileged
     materials. Merits Incentives, 262 P.3d, 720, 726-27 (Nev. 2011). Unlike this case where Stovall
25   intentionally sought out attorney client communications and work product, Merits Incentives
     involved the receipt of materials that were unsolicited. Nevertheless, Merits Incentives still
26
     provides guidance here because it involved documents provided to an attorney by anonymous
27   third parties. See id. at 724 (“RPC 4.4(b) is not applicable, as written, because the disc was not
     inadvertently sent[.]”).
28


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 1         If nothing else, even if Stovall genuinely believed the protected nature of the documents
 2   was debatable, prudence and the canons of ethical conduct dictate Stovall was first required to
 3   notify the Defendant’s counsel before using the notes to prosecute Plaintiff’s claims in this action.
 4   Compare Merits Incentives, 262 P.3d at 727 (finding disqualification was not warranted where
 5   “instead of lying in wait with the documents, [Mowbray] went out of [his] way to point out that
 6   [he] had received them and to let Defendants ascertain their provenance, giving every opportunity
 7   for Defendants to register an objection and demand return and non-use.”)(alterations in original)
 8   with Rico v. Mitsubishi Motors Corp., 171 P.3d 1092, 1100-01 (Cal. 2007) (affirming
 9   disqualification of plaintiffs’ counsel where he inadvertently received defense counsel’s notes,
10   failed to notify defense counsel, made a copy of the notes, scrutinized them, provided copies to
11   his co-counsel, and discussed the notes with his experts); see also Raymond v. Spirit Aerosystems
12   Holdings, Inc., 2017 WL 3895012 (D. Kan. June, 30, 2017)(obj. overruled by 2017 WL 3895012
13   (D. Kan. Sept. 6, 2017); Gotham City Online, LLC, v. Art.com, 2014 WL 1025120, at *4 (N.D.
14   Cal. Mar. 13, 2014)
15          2. The promptness with which the attorney notifies the opposing side that he or she
               has received its privileged information.
16
           Stovall likewise failed to comply with the notification and disclosures requirements of
17
     Nevada Rule of Professional Conduct 4.4(b). Exhibit V. While not directly applicable in this case
18
     because subsection (b) of the rule governs a lawyer’s obligations when information is received
19
     that was inadvertently sent, it nevertheless illustrates the gravity of Stovall’s missteps. Even if he
20
     had received unsolicited confidential materials that were inadvertently disclosed, Stovall would
21
     have been obligated to promptly notify opposing counsel. See RPC 4.4(b) (stating in part, that
22
     “[a] lawyer who receives a document or electronically stored information relating to the
23
     representation of the lawyer’s client and knows or reasonably should know that the document or
24
     electronically stored information was inadvertently sent shall promptly notify the sender.”); see
25
     also Exhibit V; Merits Incentives, 127 Nev. at 697, 262 P.3d at 725 (extending prompt notification
26
     requirement where attorney receives potentially privileged or protected documents from an
27
     anonymous source or a third party unrelated to the litigation: “an attorney who receives
28


                                                      19
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 1   documents regarding a case from an anonymous source must promptly notify opposing counsel,
 2   or risk being in violation of his or her ethical duties and/or being disqualified as counsel.”)
 3   (emphasis added).
 4          All the more troubling here, Stovall did not merely receive unsolicited privileged
 5   documents from an anonymous source, but rather specifically sought out attorney client
 6   communications and work product. A far cry from promptly notifying Defendant or his lawyers
 7   that he was in receipt of the privileged documents, Stovall reviewed and digested such documents,
 8   which he then incorporated directly into both complaints in this case.9 Plaintiff did not disclose
 9   any of the Football Leaks documents until nearly a year after filing the instant lawsuit. Stovall,
10   moreover, provided hundreds of pages of additional Football Leaks documents to LVMPD,
11   which are comprised almost entirely of privileged attorney client communications and work
12   product and have never been disclosed by Plaintiff. Defendant only discovered the hundreds of
13   additional pages of stolen and protected documents after serving a subpoena for LVMPD’s
14   complete file. In the meantime, Plaintiff and Stovall have had extensive access to protected and
15   confidential materials and continue to demonstrate their intent to utilize the information within
16   those documents in order to litigate Plaintiff’s claims. Such conduct is undoubtedly improper and
17   cannot be tolerated.10
18          3. The extent to which the attorney reviews and digests the privileged information.
19
20
     9
21      Such conduct is clearly improper. Exhibit V; See, e.g., Hartpence v. Kinetic Concepts, Inc.,
     2013 WL 2278122, at *3 (C.D. Cal. May 20, 2013) (disqualifying counsel where they “not only
22   used privileged materials to craft their claims, but incorporated verbatim content from those
     materials in the pleadings.”); Maldonado v. New Jersey, 225 F.R.D. 120, 140-41 (D. N.J. 2004)
23
     (disqualifying plaintiff’s counsel who retained and used defendants’ privileged letter in his initial
24   and amended complaint: “The appropriate conclusion is that counsel fully digested the contents
     of the letter to Maldonado’s advantage.”); Clark v. Superior Court, 125 Cal.Rptr.3d 361 (Ct. App.
25   2011) (affirming disqualification where counsel used privileged documents to craft claims).
26   10
        See also In re Marketing Investors Corp., 80 S.W.3d 44, 51-52 (Tex. App. 1998) (applying
27   Meador factors adopted in Merits Incentives, supra, and ordering disqualification where attorney
     extensively reviewed privileged documents, referenced them in new pleadings, and
28   demonstrated an intent to use them in the future).


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 1         Stovall obtained the Football Leaks documents in July 2018 and then disclosed two
 2   different rounds of the ill-gotten communications to LVMPD in August and September 2018,
 3   respectively. The cover letters to LVMPD accompanying such disclosures make clear that Stovall
 4   and Plaintiff spent considerable time reviewing and analyzing their contents. On September 27,
 5   2018, Stovall filed the state court complaint, which Plaintiff verified in writing. Stovall cannot
 6   genuinely assert that he did not digest or use the protected and stolen information to draft both
 7   complaints and other briefs. Stovall did not disclose to Defendant any of the hacked Football
 8   Leaks documents until September 23, 2019 – after possessing such protected communications for
 9   more than fourteen months.
10         Defendant only recently discovered the existence of approximately four hundred additional
11   Football Leaks documents that Plaintiff gave to LVMPD but never disclosed to Defendant.
12   Having had the ability to review the actual Football Leaks documents, it is clear both complaints
13   and subsequent briefs filed in this case all quote extensive portions of the hacked communications.
14   There is simply no way to unring the bell. Indeed, Stovall continues to insist he is entitled to
15   utilize such information to litigate Plaintiff’s claims despite that this Court has already stricken
16   and sealed the Football Leaks documents that were disclosed in September 2019.
17          4. The significance of the privileged information (i.e., the extent to which its
               disclosure may prejudice the movant’s claim or defense, and the extent to which
18             return of the documents will mitigate that prejudice).
19          The emails and other memoranda contain quintessential attorney-client privileged
20   communications regarding the manner in which both the courts and law enforcement would
21   potentially view Plaintiff’s claims, potential strengths and weaknesses of the defense, potential
22   strategies to employ, and where there may be risk. The significance of such information “cannot
23   be overstated.” See Maldonado, 225 F.R.D. at 140 (“[e]ssentially, the letter was a blue print to
24   [the] merits of Plaintiff’s case, as well as Defendants’ defenses; therefore, its significance cannot
25   be overstated. It is concluded that the letter’s disclosure resulted in substantial prejudice to
26   Defendants. The bell cannot be unrung here; hence, return of the documents will not mitigate the
27   prejudice. This factor strongly favors disqualification.”).
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 1          The prejudice to Defendant in allowing Plaintiff and Stovall to use Defendant’s prior
 2   lawyer’s privileged attorney client communications and work product to prosecute Plaintiff’s
 3   claims goes to the heart of the adversary system. As one court has explained in the context of
 4   information shared as part of even merely a prospective attorney-client relationship:
 5          [t]he Court must maintain the integrity of the adversary process. It would be an
            unfair disadvantage for Defendants to be confronted by an attorney whom they
 6          believe possesses intimate knowledge of their views and impressions of this
 7          litigation, even though that attorney professes that he has no knowledge nor recalls
            any, and, if he did, he would not need it or use it in a way to either alarm or harm
 8          Defendants. . . . Receiving Defendants’ thoughts on the differences between the
            designs and the strengths and weaknesses of the parties’ respective positions
 9          would generate an unfair opportunity to rebut Defendants during the course of
10          this litigation. Just having Defendants’ opinions and impression of even public
            documents and facts would establish privileged communication and if revealed,
11          in any form or fashion, would constitute significant harm. . . . Notwithstanding
            [the attorney’s] unwillingness to acknowledge it, he is potentially in a position to
12          use privileged communication, and it would be arduous to extract from one’s
13          mind.

14   Zalewski v. Sherlroc Homes, LLC, 856 F. Supp. 2d 426, 436 (N.D.N.Y. 2012) (emphasis added)

15   (citations and quotations omitted). The same concerns apply when an attorney receives, digests,

16   and uses its adversary’s privileged documents. See, e.g., McDermott Will & Emery LLP v.

17   Superior Court, 217 Cal. Rptr. 3d 47, 83–84 (Ct. App. 2017); Matter of Beiny, 129 A.D.2d 126,

18   141-44 (N.Y. App. 1987) (“While documents may be effectively suppressed, the information

19   gathered from them cannot be so easily contained…[T]here is no way of assuring that the tainted

20   knowledge will not subtly influence its future conduct of the litigation.”); accord Brown, 14 P.3d

21   at 1270 (public suspicion outweighs societal interest in challenged attorney’s continued

22   participation in the case where that attorney has received adversary’s protected information).

23          5. The extent to which movant may be at fault for the unauthorized disclosure.

24          This Court has already determined that Defendant has not waived the protections of the

25   attorney-client privilege or work product doctrines. ECF Nos. 67 and 72. Defendant’s counsel

26   here had numerous protections in place to secure client data and confidential communications.

27   Defendant’s lawyers maintained extensive, state-of-the-art safeguards and security measures to

28   protect and secure client data and confidential communications, including the confidential data at



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 1   issue in the instant matter. See Decl. of Carlos Osorio De Castro, which is attached hereto under
 2   seal as Exhibit W and the subject of a contemporaneous motion for leave to file under seal.
 3   Moreover, all documents were marked “confidential” and/or “attorney-client privilege” or
 4   “attorney work product.” See generally Documents 0003-257, included within Exhibits 4-5 to
 5   Plaintiff’s Opposition to Defendant’s Motion to Compel Arbitration; see also Exhibit D.
 6          In 2018, when Defendant and his counsel learned of the cyber-hacking, they sought a
 7   preliminary injunction from courts in both Portugal and Germany where contents of the leaked
 8   documents were widely being published. See Certified Translations of Foreign Court documents
 9   attached collectively hereto as Exhibit X. Defendant also promptly acted to protect the privileged
10   documents from use in this litigation upon receipt of Plaintiff’s Opposition to the Motion to
11   Compel Arbitration, which attached the subject documents.
12          Within twenty-four hours of receipt, Defense Counsel emailed Plaintiff’s Counsel to
13   inform him that documents which readily appeared to invade the attorney-client and work product
14   privileges had been attached to the opposition and should not be disclosed to either the public or
15   this Court. See Exhibit E. The Parties thereafter met and conferred, and Plaintiff’s counsel agreed
16   to stipulate that the subject documents remain sealed until this Court could decide the instant
17   motion to strike and seal.
18          Prior to Plaintiff’s counsel filing the subject documents with the Court, there was no
19   reason to anticipate Plaintiff would attach privileged documents to a court filing. At the time of
20   the Football Leaks, there was no way to know this litigation would ensue, much less that
21   Plaintiff’s counsel would take affirmative steps to obtain stolen and privileged communications.
22   Defendant sought an injunction precluding further dissemination of the subject documents, the
23   hacker alleged to be responsible for Football Leaks remains the subject of a criminal prosecution
24   abroad, and the instant matter had long ago been resolved by way of the SCA.
25          6. The extent to which the nonmovant will suffer prejudice from the disqualification
               of his or her attorney.
26
            Defendant acknowledges that in the event this Court does not impose case terminating
27
     sanctions, Stovall’s disqualification will deprive Plaintiff of her chosen counsel. This is always
28


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 1   one of the factors that must be balanced in an attorney disqualification matter. See Brown, 116
 2   Nev. at 1205, 14 P.3d at 1269-70. That said, a law firm, which obtains its adversary’s privileged
 3   information and then uses that information to obtain an advantage in the litigation, should not be
 4   permitted to avoid disqualification simply to preserve the client’s right to their chosen lawyer.
 5   As the Nevada Supreme Court has made clear, where there is a “reasonable probability that the
 6   challenged attorney actually received privileged or confidential information,” (see Id. at 1270),
 7   the likelihood of public suspicion or obloquy outweighs the social interests that would be served
 8   by the challenged lawyer’s continued participation in the particular case. See Id. That is exactly
 9   the case here.
10          On balance, the analysis inexorably leads to one result: Stovall must be disqualified
11   because he obtained privileged and protected information from Football Leaks, failed to promptly
12   notify Defendant’s counsel that Plaintiff possessed of such information, and then made the
13   unilateral decision to use that protected information to file the operative complaint in this case.
14   “[T]he public interest in the scrupulous administration of justice” requires nothing less than
15   disqualification. Nevada Yellow Cab, 152 P.3d at 743 (affirming order granting disqualification)
16   (quoting Brown, supra).
17   III.   CONCLUSION
18          In light of the foregoing, Defendant respectfully requests that this Court enter an order
19   dismissing Plaintiff’s Complaint because no lesser sanction can remedy the prejudice caused by
20   Plaintiff’s use of privileged communications and work product that her counsel, Leslie Stovall,
21   intentionally sought out, reviewed and has utilized in this case. At a minimum, Stovall must be
22   disqualified from acting as counsel in this matter.
23          Dated this 27th day of May, 2021.
24                                                   CHRISTIANSEN TRIAL LAWYERS
25
                                                      By_____________________________
26                                                      PETER S. CHRISTIANSEN, ESQ.
                                                        KENDELEE L. WORKS, ESQ.
27                                                      KEELY A. PERDUE, ESQ.
                                                        Attorneys for Defendant Cristiano Ronaldo
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                                    CERTIFICATE OF SERVICE
 1
            Pursuant to FRCP 5 and LR-5.1, I certify that I am an employee of CHRISTIANSEN
 2
     TRIAL LAWYERS, and that on this 27th day of May, 2021, I caused the foregoing document
 3
     entitled DEFENDANT’S EMERGENCY MOTION FOR CASE TERMINATING
 4
     SANCTIONS AND TO DISQUALIFY STOVALL & ASSOCIATES to be filed and served
 5
     via the Court’s CM/ECF electronic filing system upon all registered parties and their counsel.
 6
 7
 8
 9                                         An emplo ee of Christiansen Trial Lawyers

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 1
                                  INDEX OF EXHIBITS
 2
     Exhibit A     Verified State Court Complaint
 3   Exhibit B     Correspondence from Leslie Stovall to Peter Christiansen dated October
 4                 23, 2013 [sic.]
     Exhibit C     Declaration of Kendelee L. Works, Esq. in Support of Defendant’s
 5                 Emergency Motion for Case Terminating Sanctions and to Disqualify
                   Stovall & Associates
 6   Exhibit D     Plaintiff’s Initial Disclosures (filed under seal)
 7   Exhibit E     Email from Peter S. Christiansen to Leslie Stovall dated September 24,
                   2019
 8   Exhibit F     Emails between Kendelee Works and Leslie Stovall dated November 23,
                   2020
 9
     Exhibit G     Stipulation and Order to Dismiss Appeal Without Prejudice dated
10                 December 30, 2020
     Exhibit H     Amended Stipulation and Order to Dismiss Appeal with Prejudice dated
11                 January 13, 2021
12   Exhibit I     Correspondence from Ross Moynihan to Kendelee Works dated
                   February 2, 2021
13   Exhibit J     Emails between Ross Moynihan and Kendelee Works dated February 9
                   and 12, 2021
14
     Exhibit K     Correspondence from Kendelee Works to Ross Moynihan dated
15                 February 18, 2021
     Exhibit L     Emails between Kendelee Works and Ross Moynihan dated March 18
16                 and 19, 2021
17   Exhibit M     Email from Kendelee Works to Ross Moynihan dated March 29, 2021
     Exhibit N     Email from Les Stovall to Kendelee Works dated March 29, 2021
18   Exhibit O     Email from Les Stovall to Peter Christiansen, Kendelee Works and
                   James Silvestri dated May 3, 2021
19   Exhibit P     Relevant portions of the Las Vegas Metropolitan Police Department
20                 investigative file (filed under seal)
     Exhibit Q     Der Spiegel Article dated September 29, 2018
21   Exhibit R     Emails between Defendant’s counsel and Plaintiff’s counsel dated May
                   12 and 14, 2021
22
     Exhibit S     Transcript of Non-Appearance Deposition of Michaela Wood fka
23                 Michaela Tramel
     Exhibit T     Email from Kendelee Works to Les Stovall and Ross Moynihan dated
24                 May 23, 2021
25   Exhibit U     Correspondence from Les Stovall to Kendelee Works dated May 25,
                   2021
26   Exhibit V     Declaration of Janeen Issacson, Esq.
     Exhibit W     Declaration of Carlos Osorio De Castro (filed under Seal)
27
     Exhibit X     Certified translations of motions and orders issued in courts in Germany
28                 and Portugal



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